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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    JOHN RIGBY, ALAN KNIGHT, and
    FIREARMS POLICY COALITION,
    INC.
              Plaintiffs,
                                                   C.A. No. 1:21-cv-01523-MN
                   v.

    KATHY JENNINGS, Attorney General of
    Delaware;
              Defendant. 1


     PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENT TO REPLY
IN SUPPORT OF MOTION FOR A PRELIMINARY AND PERMANENT INJUNCTION

         Plaintiffs John Rigby, Alan Knight and Firearms Policy Coalition, Inc., (“Plaintiffs”) by

and through undersigned counsel, hereby move (the “Motion”) this Honorable Court for leave to

file a short supplement to their Reply Brief in Support of Motion for a Preliminary and Permanent

Injunction, and in support thereof state as follows.

         1.     Plaintiffs’ Motion for a Preliminary and Permanent Injunction (the “Motion”) was

filed with the Court on November 2, 2021 [D.I. 5] along with Plaintiffs’ opening brief in support

thereof [D.I.6].

         2.     Defendants’ answering brief in opposition to the Motion (the “Answering Brief”)

was filed on November 16, 2021 [D.I. 11].

         3.     Plaintiffs’ reply brief in support of the Motion (the “Reply Brief”) was filed on

December 8, 2021 [D.I. 16].




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  Defendant John Carney, Governor of the State of Delaware, was dismissed from this action by
stipulation of the parties. Given that the majority of the pleadings referred to herein were filed
before the dismissal of Defendant Carney, “Defendants” is used throughout the remainder of this
motion.
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       4.      On January 27, 2022, the Court entered an order noting that Defendants had

neglected to submit any evidence in support of the Answering Brief and directing the Defendants

to do so no later than February 4, 2022 [D.I. 26].

       5.      On February 4, 2022, Defendants filed a letter responding to the Court’s January

27 order along with an exhibit thereto which purports to contain evidence from the Delaware State

Police supporting Defendants’ position concerning the constitutionality of the challenged

provisions of H.B. 125 at issue in these proceedings.

       6.      Plaintiffs respectfully submit that the interests of fairness and justice require that

Plaintiffs be granted leave to file a short supplemental submission in support of the Motion which

addresses the materials submitted by Defendants on February 4. Had Defendants submitted those

materials at the time they filed the Answering Brief, Plaintiffs would have had an opportunity to

take them into account in the Reply Brief. Instead, Plaintiffs were denied that opportunity through

no fault of their own.

       7.      Should the Court grant Plaintiffs leave to file a supplemental submission, Plaintiffs

defer to the Court for guidance on the appropriate form and length of the submission but

respectfully suggest that a supplemental submission of no more than five pages in the form of a

letter would be appropriate.

       8.      In accordance with Local Rule 7.1.1, the undersigned conferred with defense

counsel concerning this motion and was advised that Defendants intend to take no position on

Plaintiffs’ request for leave to supplement the Reply Brief.

       WHEREFORE, Plaintiffs respectfully request that the Court grant them leave to file a short

supplemental submission allowing them to fairly respond to Defendants’ February 4 filings.




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                                    Respectfully submitted,

Dated: February 7, 2022            GELLERT SCALI BUSENKELL & BROWN LLC

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